    Case 1:18-cr-00083-TSE Document 46-3 Filed 04/30/18 Page 1 of 7 PageID# 825



 

 

 

 

 




                      EXHIBIT C
Case 1:18-cr-00083-TSE Document 46-3 Filed 04/30/18 Page 2 of 7 PageID# 826
Case 1:18-cr-00083-TSE Document 46-3 Filed 04/30/18 Page 3 of 7 PageID# 827
Case 1:18-cr-00083-TSE Document 46-3 Filed 04/30/18 Page 4 of 7 PageID# 828
Case 1:18-cr-00083-TSE Document 46-3 Filed 04/30/18 Page 5 of 7 PageID# 829
Case 1:18-cr-00083-TSE Document 46-3 Filed 04/30/18 Page 6 of 7 PageID# 830
Case 1:18-cr-00083-TSE Document 46-3 Filed 04/30/18 Page 7 of 7 PageID# 831
